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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )                4:06MJ3004
           v.                        )
                                     )
RUBEN D. NUNEZ,                      )
                                     )                   ORDER
                  Defendants.        )
                                     )




     Upon consideration of the defendant’s motion to reduce bond
amount and the government’s response to it,

     IT IS ORDERED, the motion, filing 29, is granted in part,
and paragraph 7(c) of the order setting conditions of release,
filing 25, is amended to require the defendant to post the sum of
$3,500.00 (17.5% of $20,000.00).

     DATED this 10th day of February, 2006.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
